Andnaqueg aseo seg WOO"ESEO1Saq MMM - OT] 'ASED 184g 9LOz-9EE1 (9) USWAdeD evEMOS

L aBed POLad MAWINULUOD Jo UONe|NaeQ pur ewosuy A[UOI JUSAIND ANOA Jo JUBWATBIS C1 ueideyo L-OZEZL Woy BHO
$ 00°0 $< o1ey Adon 00'0 $ Apedoid ;Bad 28U}O JO |BIUSI LWIOd AWWOOU! ATO 78N
00°0 $- sesuadxe Buneledo Ayessaoau pue AreUIpIO
00°0 $ (suononpep je alojed) s}dieoes ssaup

Apedodld jeas 2ayjo pue selues Wow swosUI EN “9
1 10 ‘uOIssajold “Sseulsng B Wl) SUDO! A;ULUOLU 18Ry ,

$ 9070 $< S484
sesuedxe Bugesedo Aressacau pue AUDIO
(suaionpap ||@ s10j8q) Sidisoas ssolny
we) Io ‘oissajoud
‘ssauisng eB Bunesedo wo awosuljeN ‘Ss
$ ono "€ Sul] UO paysi| NOA sjusWAed apnj[sul lou Og ‘Ul Pally

JOU $1 g UWUNJOD YI AjUO esnods eB Woy) SUOHNqUIUS JeZiNBal apn|oul ‘sefewwoOs pue
‘sjuered ‘sjuspuadap Indd ‘proyesnoy JNOA Jo suaqueW “eUYeEd PSLeBWUN UB WU

Sudnngijuos seinBes epnjou; “Moddns pyjyo Buipnjaul ‘syuapuedsap 1nod 10 NOA Jo

sasuadxa pjoyssnoy 10) pred Ayrejnfe sue yorym ao1nos Aue wo.) s]uNOWwE ITY “

$ o0°0 “Ul DSI Sg UNOS
jlesneds & wey squawAed apnjoul iou og "sjuawAed aouBUdjuleWw pue AUOUY “¢
$ ZS LLS'9 $ -(suogonpep jjoAed

|! B10}aq) SUGISSILUWOD Ue ‘SLUILIEA0 ‘sesnuog ‘sdy ‘Auejes ‘sabem ssoiB uno, *2

asnods Bulyy-uou : was
“doy dOIqaq oe Ploy |
GF wULIA}OD YiuLuNjoZ |

‘eoeds SU} Ul OF. a]UM ‘Sul Aug Jo) Poder of Bu|UJou SAeY!NoA J] “AYO UUN|OD BuO Ul AUadoid 3eUy WO SUWOSUL Sul ind ‘Ausdold pequed ewes:

Ulog jl ‘eidwexe 104 Teduo UU] S10 JUNOWe SUOSLy Ae apPApoUl JOU Sq] “WNSarSyP-U] jd “9 AC ZIO] SUL Splaip pure sujOU 9 [fe 40} aWooul Buty :
Buying PsyeA-SucsLy ACU INGA jo yunowe sul Le isriBny YBnoye:: Yue 8g PING pouad UJUOW-9 BUYS}, dequisides uo Buty ere no yi ‘alduuexs AOLILOL :
SOS nL esea: Aotdnuyueg siyy ayy nos asojeq syjuoUW ying g at) BuLInp peAwap ‘saaunos [JB widow paarasas noA yeul BUTOaUE ATYJUOW SHeABAR our ui Ina

“Lh SOUIT ‘Q PUB y SULUN[OD UJog {NO IIL ‘PaLWeW Cy
"$9 SOU] “Y LUND INO IIt4 ‘POLFEW JON pg
\ “AluO Buc YOOUD esnyeis Buljy pue ewww anod siyey~, “1b

aWoau A[yUOW sBeseay Ino, sepnsjep

‘(UMOUy JI) JaquInU eases PUR oWweU anoA aim ‘saBed jeucipppe
Aue jo do} ay] uC ‘saijdde voleuojul Bua ppe ay) Yor O} JequNU eU!] ay] @pNjoU; “WUOY SIU} 0} Josys ayeredas e YOeYE ‘pepesu si soeds
S1OW! J] “S}2unooR Bulag 10} a)qisuodsa, Ajjenba ase yjoq ‘ayjaGoy Buy are ajdoed penzew om 4 e(qissod se ayeuno0e pue aje|dwos se og

SL/Zk POLidd JUBWHILULUO Jo UOITBIND]e45 pue
QWOU] AJYUOWY JUSLING ANOA JO JUBWTEIS E1 Jo}deyD
L-Occh WO Jello

Sully Papuaue ue st sy) JE H9SUD CY

‘s1e94 ¢ S| polled JUSWUIILWOS SUL “y  gy

‘sreed € S| poued JUsUNLWIOD OU “Ss = CY tumour y)

LELEO-AG-91L-G sequuinu sse5

‘(e(aiezer § o’s'n

LL Japun peuiWejep si awcoul eiqescdsiq “Zag BIUSAASUUSG JO LOMISIQ SIPPIA)  7aUy Joy NES Agydnyqueg saelg peyun

‘(elajezer $ o's LL . (Guy y ‘asnodg)

J@PUN PSUILUSJEP JOU $1 SwooU! aigesodsiq "| fy “ zsolded
USWaTES

sly) Aq peuinba. suoRinoes au 0} Bulpioooy eydouoY zsnepeL 1 10)98q

aes a poets sdadetdaa cD N-7-) 0s] e8))4 ESTE sre] roy MUCayhLaTep LeU Rey erm TT

Case _5:16-bk-03111-JJT Doc 51 Filed 03/02/17 Entered 03/02/17 12:24:19 Desc

Main Document Page 1 of3
Ao\dnuyjueg asen seg Wes eSBO1Saq' MAM - O77 ‘ASB4 189g 9102-9664 (2) UB UAdOS eremjos
@ abed Pola, JUSWPWUWOD JO UOE|ND/eD Puke suOoU] AUS WUBIN’ INC, Jo WUSWSTeI1S S| Jaldeuy LOS L WUO-4 [BIOWO

prerl'es $ "UHO} OU) JO Led sip soy sed Ou} JO) aWICOU A;LUOW JUaIIND JNOA si qnsel eyL "GSL

cl xX ‘(eed @ Ul SUJUOW JO Jequunu ey) zy Aq Bg. auy Aiduinyy
L@°LLS’9 $ <=oey pl, aul Adon eg)
isdejs esau] MOl|O4 dead By] JO} SUUOOU! AjyJUOW JueiNne anNOA aTZINIIL] “S|,
19 LAs is°9 $ ‘ZL Sui] WO S| Sul] JOWIGnS ‘awoow ApypUOW JUauNO INO, “PL
ooo - <savay Adon 00°0 $ JEIOL
$+
$
$

“Mosq C Jejue ‘Ajdde jou sop Jusujsnipe sip J

‘abed operedas 2 uc sjuduisn[pe
feuolppe ysij ‘Auesseoeu || “esodind yoes 0} peloaep ewodul Jo JUNOWEe SU] PUB SUCOU! SILA Sulpnjoxe JO) siseq au] Ajioads ‘mojag

"sjuspusdep INCA 10 NCA UBL] JeULO auOsWOS Jo LOddns s,asnods ey 10 Ayiqey xe] s,asnods ay} jo jUSsuAed se Uons ‘slugpuedep
4nod Jo nod jo sesuedxe proyesnoy ayy so) pred AeinBas LON sem yeu) *g UWUNIOD ‘|| aul] UL PaIS!] SUICOU! SU JO JUNOWE SUy UI [II

“nod YM Bully Jou si esnods unoA pue pare ale no, o
“MOl@E O Ul tild "NOA Uy Bully $1 esnods inoA pue pawweu aeno,
“MOST O Ul IL] ‘Peweuw jou eNO, gy
'3UC YOSUD *JUaLUTSN[pe jee oy) syeiNaleg “ES 1
£2 LES'9 $ "LL Ay] Wes sudo! AjyUOW a6e19Ae Fe]O] INOA Adod ‘Zz,

@WODu] LUO. SUOHONpaq JNO, ainsEayy oO] MOY SUulLeIsq

@uwooul A|UWWOU
aBeaaae [EOL

ot . Tyiet "g UWN]OS 104 [EO BU] O} WY UWUN]OD JOL /e}O} SY] PPS UsY] “ULUNOS Uses
AS LhGS Si Sir) 28'LLS'9 8 40). 0} UBnouul Zz seul] ppy “surooul AjyjUOW eBe1eAe je10} INOA ayEpnayeD * 11
$ 00°0 g + “Aue ji ‘saBed apziedas wo syunowe [eiOL
$ ooo $ .
“¢ 00°0 $ -
“MO[9Q [2}O}

aul ind pue ofed apziedas & Uo seasnos JaLjO JsI| ‘AeSseceu || “WISIIOlI0) SNSeWOP
JO BUCH EUS]! JO ‘AUBWUNY JSUlBBe suis & “OwJO JBM B JO WIHDIA B SB PeAleoe!
sjuewiAed 40 joy Andes |eIS05 ay] JePUN pealedeu sjoueq AUB apnjoul Jou og
"JUNOWE pue aoinos Buy Ayloads ‘SAOQE Pd1SI] JOU SADINOS ABYJO [JB WO BWOSUT “OL

$ 00°0 $ ‘OY Alunoss fBlo0g Ou) epun Yyoueq
8 SBM ]2y] pealooad JUNCWEe AUP SpN|OU! JOL Of] “SWOSU! JUBWIAUA1 4O UOISUag "6

¢ asnods inoA Jo4
00°) ¢ nOA JO4

: ‘3194 } ISI] ‘PESISUl OY Anse jelo0g SLR
JOPUN ]YSUsg B SEM PSALGOS! JUNOWE SU} JEU] PUS]UOS NOA JI JUNOWE SU] J8}US JOU OG

$ 00°0 $ uo yesuadiuics juswA0|dwueun -¢g
‘ ‘. .
00°0 $ soleAQl pus ‘spuaplrip ‘Isesaiuy *f

LLLEO-HG-GE:G (mou 4) saquinu aseg BYCOUOY ZSNSpeL | sogag

Case 5:16-bk-03111-JJT, Doc 51 Filed 03/02/17 Entered 03/02/17 12:24:19 Desc

Main Document Page 2 of 3
Anjdnyueg asta ise
YUEg aSeD Issg WOO SSEOISAG MMM - OTT OS 159g GLOZ-IEEL (9) UBLAdOD asemyog

€ ebed POH, IUSLUYLUWOD jo UoHEINSeD pue swosuj AYU] JUaLIND INO, Jo JUaWazeIg EL Jeldeyy L-DZZ_ WUOY /PIOIWO

“SAOQE FL SUI| WO; SUICOU! AWWOW JUSLIND INGA Adoo ‘WO) JEU) JO BE Sul UO "LOY SILL ULM UI All, PUB Z-AzZzZ) uO no IY ‘OLL PayYOayo NOA 4 |

‘SOGE | WO Sl JO 1M i] LON OP “B41 paxyoayo nod yy
AAAA/ GA/ WA
L102 ‘eg Aueniqeay aye
1 JO\geg jo einjeubig
eydouoy zsnepey
eydouoy zsnapei jsf X

“8.09 PUB BN] S! SUSWUYORTS AUP Ul PUB IUAWAYE]S SIU] LO LORE UOJUL ay] Tey] auejoan | Ainlied yo Aypeued Jepun ‘asay BuluBls Ag
moljag ubis

“y Led 0] 0D ‘subad ¢ S/ poLled jueUILULUOD
BYL “y XOG YISYO “UNO! SIU} JO | SGed jo do} oy) Ud ‘Nos sy; Aq palaplo SsiaylO ssalUuN ‘90z oul O} enba Jo WeU) alow sl goz eurq mw

_ ‘p8g 01 OD ‘sveed es! poued
IUBUMUNUOD BULL “S XO YOSYO “UOJ SIU] JO | aBed yo doy Suy uc ‘unos eu; Aq peleplo asWUSUIO SSB[UP] ‘208 Sul] UEUL Ssa| SI dog eu Oo

2eeduios saul] auyop Moy “LZ

ooezees $ OGL SUI] WO playssnoy lo azis Pue ayes incA 40) sod) Awe) UeIpSwW eu] AdoD ‘ang
prep ‘es ¢ WJOJ OUI JO Wed siup soy eaA BY) JOY BWOSU ATUILVOW USNS INOA SI YINSe! SUL “Gaz
cL Xx “(eed B ul SUJUOW JO JequuNL auy} 21 Aq Aldaryy
£8'LLS'S $ Q6L sul Adox “eog
. tsdajs asely MOO] Weed OU) 10) SLUOSLI AjyIUOW JUeLINS INOA aIRINAIeEN "OF
£2 L1L9‘9 $ “SL Sul] WOl BG] aul] JOBIGNS "G61
o0'o he "BBL Buy UO O Ul Jy ‘Aldde jou seop juewysnipe peleW Bult) “EEL

"EL Gull Oa JUnOWe ay] Adoa ‘awosul s,asnods
- ANGA JO Wed Jonpap O1 NOA smole ye) (A)GZEL § O'S'N LL JepUN poured JSUAIWWOS eu Buneinoyeo yey] puajuas
no& pue ‘nod uy Bury jou s: esnods unod ‘pawwew az nod || ‘seydde yw yuewisnipe jeqew auyionpeq “61

ZB LLS'S g - "LL, Sul Wo. awooui AjyjUCW eBesene jeyoy nod Adoy ‘91

{y)(a)szet §°O'S'N LL 4epUN ported JUaWNWWED sno, ayEINIeQ

“SAQQE PL OU] WO) aWcour A|UIUOWW JusuND INOA

Ado ‘04 YEU JO BE Bull UO “(Z-OZZL WU [2191N1) eWIOSU] ajqesodsiq INO, Jo UOE|Nd/eD INO 4] Pue ¢ Lied 0} OH ‘(E)(a)szeL
§ O'S) LL Jopun pauiuajap st aucour a;qesodsig “Zz xoq yORUS ‘WUOY SIU Jo |. aBed yo dol aul UQ 99} Sul] UEUL S/OW S1GS_ Sur] gy FLL

(S-OZ7L Woy elo} ewasus ajqesodsig no, 40 vOeINA-ED INO II) LON Od" Hed 0109 ‘(Eligeze: § ‘O°8"N LI
JOPUN PBUILUJEIEp JOU Sf BWOoU! aqEesodsiq] ‘| XOq yOSYyo “wy siLy jo | eBed jo doy ain uO “Og aul] O] jenba Jo UBL] SS3] $1.qg1. 8uq CL] “PAL
, Essedwios seul ey} Op MOH “/L

"eOYO syiajo AoidnsyUued SUL 1a aiqeVene oq osje ABW ISI] SIL "UOJ S141 20) SUOTONUISUI
ayesedas ay) u! payloads yu! ay] Suisn auljuo o6 ‘sjuncwe awooul UEIpaW sjqeaydde jo 4SI] B puy oy

OO ZZEEL $ "PIOY@SNOY JO SzIS BUS STEIS INOA JO} SUICOU! Ale} ULIPSUZ OU] Ul ||14 “O91,
S “*ployssnoy INOA ul ajdoad Jo JequuNU Buy Ul [lef “GOL
Wd "BAI] NOA YOIUM U! SJEIS SU} Ul |[IJ “BOL

‘sdajs Ssalt MOO NOA OF saydde yey) awosu! A[IWE) UIPSUW ay} eyejNayPe4 “91

LLEEOAG-GE-G = mony 1) sequinu asep eydoucy zsnepeL | sowed

Case 5:16-bk-03111-JJT. Doc 51 Filed 03/02/17 Entered 03/02/17 12:24:19 Desc

Main Document Page 3 of 3
